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F ENWICK & W EST LLP
                       ATTORNEYS AT LAW




                                          13
                                          14                               UNITED STATES DISTRICT COURT
                                          15                             CENTRAL DISTRICT OF CALIFORNIA
                                          16                                WESTERN DIVISION – Los Angeles
                                          17
                                          18 YUGA LABS, INC.,                                 Case No.: 2:22-cv-04355-JFW-JEM
                                          19                       Plaintiff and              DECLARATION OF ERIC BALL
                                                                   Counterclaim Defendant,    IN SUPPORT OF PLAINTIFF
                                          20                                                  YUGA LABS, INC.’S EX PARTE
                                                       v.                                     APPLICATION FOR A
                                          21                                                  PROTECTIVE ORDER
                                               RYDER RIPPS, JEREMY CAHEN,                     REGARDING APEX
                                          22                                                  DEPOSITIONS
                                                                   Defendants and
                                          23                       Counterclaim Plaintiffs.   Magistrate Judge:
                                                                                              Honorable John E. McDermott
                                          24
                                          25
                                          26           I, Eric Ball, declare as follows:
                                          27           1.      I am an attorney admitted to practice in California and a partner at
                                          28 the law firm of Fenwick & West LLP, counsel for Plaintiff Yuga Labs, Inc.

                                               DECL. OF ERIC BALL ISO PLAINTIFF’S EX PARTE                 Case No. 2:22-cv-04355-JFW-JEM
                                               APPL. FOR PROTECTIVE ORDER
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                                           1 (“Yuga Labs”) in the above-captioned matter. Fenwick & West is also counsel to
                                           2 Yuga Labs on other matters. I make this declaration based on my own personal
                                           3 knowledge or information available to me. If called as a witness, I could testify
                                           4 competently to the facts set forth here.
                                           5           2.      Yuga Labs is an international company doing business in seven
                                           6 countries and with trademark filings in 120 countries. Yuga Labs operates six brands
                                           7 and today has 128 employees and works directly with at least another 60 persons or
                                           8 companies internationally.
                                           9           3.      Wylie Aronow and Greg Solano are co-founders of Yuga Labs and have
                                          10 been Co-Presidents and members of the Board of Directors (the “Board”) since
                                          11 February 2022. Their duties include (subject to the control of the Board) the overall
                                          12 direction of the business; international partnerships; acting as general managers of
F ENWICK & W EST LLP




                                          13 Yuga Labs; exercising general supervision of the business, affairs and brands of Yuga
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                                          14 Labs; presiding at all meetings of the stockholders; and having general charge of the
                                          15 property, agents and employees of Yuga Labs.
                                          16           4.      Yuga Labs’ notice of deposition to Ryder Ripps, served on December
                                          17 5, 2022, is attached as Exhibit 1. This deposition is confirmed to take place on
                                          18 January 12, 2023.
                                          19           5.      Yuga Labs’ notice of deposition to Jeremy Cahen, served on December
                                          20 5, 2022, is attached as Exhibit 2.
                                          21           6.      Yuga Labs’ amended notice of deposition to Jeremy Cahen, served on
                                          22 December 20, 2022, is attached as Exhibit 3. This deposition is confirmed to take
                                          23 place on January 11, 2023.
                                          24           7.      Defendants’ notice of 30(b)(6) deposition to Yuga Labs, served on
                                          25 December 9, 2022, is attached as Exhibit 4. This deposition is confirmed to take
                                          26 place on January 24, 2023.
                                          27           8.      Defendants’ notice of deposition to Wylie Aronow, served on December
                                          28 15, 2022, is attached as Exhibit 5.

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                                           1           9.      Defendants’ notice of deposition to Greg Solano, served on December
                                           2 15, 2022, is attached as Exhibit 6.
                                           3           10.     Defendants’ Initial Disclosures are attached as Exhibit 7.
                                           4           11.     A copy of email correspondence between the Parties’ counsel is attached
                                           5 as Exhibit 8.
                                           6           12.     A December 16, 2022 tweet from Jeremy Cahen is attached as
                                           7 Exhibit 9.
                                           8           13.     A December 25, 2022 tweet from Jeremy Cahen is attached as
                                           9 Exhibit 10.
                                          10           14.     During the week of January 9, 2023, Mr. Solano is meeting with
                                          11 international business partners traveling to meet with him from Hong Kong.
                                          12           15.     During the week of January 9, 2023, Mr. Aronow has a pre-existing
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                                          13 medical appointment in South Carolina.
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                                          14           16.     On January 4, 2023, I conferred by video with Lead Counsel for
                                          15 Defendants regarding this ex parte application and the underlying issues. Lead
                                          16 Counsel for Defendants has been advised of the date and substance of this ex parte
                                          17 application.
                                          18
                                          19           I declare under penalty of perjury under the laws of California and the United
                                          20 States that, to the best of my knowledge, the foregoing is true and correct. Executed
                                          21 this 5th day of January, 2023.
                                          22
                                          23
                                          24                                                 /s/ Eric Ball
                                                                                             Eric Ball
                                          25
                                          26
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                                               DECL. OF ERIC BALL ISO PLAINTIFF’S EX PARTE                    Case No. 2:22-cv-04355-JFW-JEM
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